                             Case 1:18-mj-00207-ML Document 4 Filed 03/20/18 Page 1 of 1



A0    442 (Rev. Il/li) Arrest Warrant




                                             UNITED STATES DISTRICT COURT
                                                                         for the
                                                          Western District of Texas

                          United States of America
                                      V.

                                                                          )              CaseNo.

                                                                          )

                                                                          )
Mark Conditt
                                 Defendant


                                                              1 1 3I1I     1A'L'     1   UJI
To:           Any authorized law enforcement officer

              YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(na,ne of person to be arrested)        Mark Conditt
who is accused of an offense or violation based on the following document filed with the court:

      Indictment                LI   Superseding Indictment    LI   information   fl Superseding Information                        Iii   Complaint
      Probation Violation Petition              LI Supervised Release Violation Petition  fl Violation Notice                       LI    Order of the Court

This offense is briefly described as follows:
26 U.S.C. 5861 - Receive/Possess/Transfer Destructive Device




Date: 03/20/2018



City and state:             Austin, Texas
                                                                                                                    e   and title

                                                                         Return
              This warrant was received on (date)                                  and the person was arrested on (date)
at   (ciO'   and s(ate)


Date:
                                                                                                    Arresting officer 'S signature



                                                                                                       Printed name and title
